Case 2:21-cv-01345-DMG-KS Document 22 Filed 10/13/21 Page 1 of 1 Page ID #:116




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.    CV 21-1345-DMG (KSx)                                   Date     October 13, 2021

 Title United African-Asian Abilities Club, et al. v. Universe At Villa            Page     1 of 1
       Edgemont DE, LLC, et al.


 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                             NOT REPORTED
              Deputy Clerk                                           Court Reporter

    Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
           NONE PRESENT                                             NONE PRESENT

 Proceedings: IN CHAMBERS – ORDER TO SHOW CAUSE

         On July 14, 2021, the Court ordered the parties participate in a mediation conference by
 October 1, 2021. [Doc. # 18.] As required by the Court's July 14, 2021 Order, a joint status
 report re settlement was due seven (7) days after the mediation conference. To date, a joint
 status report re settlement has not been filed.

         IT IS HEREBY ORDERED that the parties show cause in writing no later than October
 20, 2021, why sanctions should not be imposed for failure to comply with the Court’s Order.
 The filing of a joint status report re settlement by the deadline will be deemed a satisfactory
 response.

 IT IS SO ORDERED.




 CV-90                             CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk KT
